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                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

  VEROBLUE FARMS USA INC.,                           §
     Plaintiff                                       §
                                                     §
   v.                                                §      CIVIL ACTION NO. 3:19-CV-00764-L
                                                     §
  LESLIE A. WULF, BRUCE A. HALL, JAMES               §
  REA, JOHN REA, and KEITH DRIVER,                   §
     Defendants/Counterplaintiffs                    §

                JOINT MOTION FOR ENTRY OF PROTECTIVE ORDER

        Plaintiff VeroBlue Farms USA, Inc. (“Plaintiff”) and Defendants/Counterplaintiffs Leslie

A. Wulf, Bruce A. Hall, James Rea, John Rea, and Keith Driver (collectively, “Defendants” and,

together with Plaintiff, the “Parties”) move the Court, pursuant to Rule 26(c) of the Federal Rules

of Civil Procedure, for a Protective Order in the form attached as Exhibit A to this motion. In

support of this motion, the Parties state as follows:

        1.     The discovery in this lawsuit will require production and disclosure of documents

and material that will contain information concerning trade secrets, commercial information, or

otherwise confidential or proprietary such that it requires protection against unrestricted disclosure

and dissemination.

        2.     The discovery in this lawsuit may also require production and disclosure of

documents and materials containing private or confidential personal information of employees,

officers, or directors that is not publicly known.

        3.     Federal Rule of Civil Procedure 26(c) grants courts with authority to issue an order

to protect a person from “annoyance, embarrassment, oppression, or undue burden or expense,” if

there is good cause to issue such an order. Fed. R. Civ. P. 26(c).




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       4.      There is good cause to issue a protective order in this case. First, the legitimate

privacy interests at issue here for Plaintiff and Defendants outweigh any public need for the

records, as disclosure of this information would violate significant confidentiality concerns and

would place Plaintiff’s proprietary business and employee information, and Defendants’ personal

information, at risk. In general, the information sought to be protected contains Defendants’

private and personal information or highly sensitive or confidential information of Plaintiff

including, but not limited to, competitively sensitive employment, marketing, financial, or other

confidential business information, or information received in confidence from third parties.

Plaintiff goes to great lengths to protect this information from third parties.

       5.      Moreover, even though the information would not be disclosed to the general

public, fairness and efficiency in this litigation will nevertheless be promoted because, under the

terms of the attached proposed Protective Order, both parties and the Court will still have full

access to the confidential information.

       6.      The Parties respectfully tender as an attachment hereto an agreed protective order

(“Protective Order”) attached to this motion as Exhibit A. The Parties believe that the Protective

Order adequately protects the Parties’ respective interests. Because some of the material disclosed

in this litigation is confidential and subject to the protections of Rule 26(c) of the Federal Rules of

Civil Procedure, the Parties believe that it will be in the interest of justice for the Court to enter

this Protective Order and require that the Parties conduct themselves accordingly.

       WHEREFORE, the Parties respectfully move the Court to enter the Protective Order
attached to this Motion as Exhibit A.




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DATED: May 30, 2019.                Respectfully submitted,


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                             CERTIFICATE OF CONFERENCE

        I hereby certify that Plaintiff’s counsel conferred with all other counsel appearing in this
 case via email, and confirmed that the Parties are agreed as to this Motion and the relief
 requested herein.

                                                      /s/ Jasmine S. Wynton
                                                      Jasmine S. Wynton



                                 CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing document has been served
 upon counsel for all parties of record via ECF on May 30, 2019.

                                                      /s/ Jasmine S. Wynton
                                                      Jasmine S. Wynton




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